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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

JOHN ROE,

                                Plaintiff,                              21-CV-525 (LLS)
                       -against-                          ORDER DIRECTING PAYMENT OF FEE
                                                                OR IFP APPLICATION
JOHN P. PALASCH, et al.,

                                Defendants.

LOUIS L. STANTON, United States District Judge:

          Plaintiff brings this action pro se. To proceed with a civil action in this Court, a plaintiff

must either pay $402.00 in fees – a $350.00 filing fee plus a $52.00 administrative fee – or, to

request authorization to proceed without prepayment of fees, submit a signed application to

proceed in forma pauperis (IFP). See 28 U.S.C. §§ 1914, 1915.

          Plaintiff submitted a motion for leave to proceed IFP, but his responses do not establish

that he is unable to pay the filing fees. Plaintiff asserts generally that he is unable to pay the fee

and “still be able to provide for” himself and his dependents, but he fails to list his assets, sources

of income, and living expenses, and he does not explain how he pays those expenses. The Court

is thus unable to conclude that he does not have sufficient funds to pay the relevant fees for this

action.

          Accordingly, within thirty days of the date of this order, Plaintiff must either pay the

$402.00 in fees or submit an amended IFP application. If Plaintiff submits the amended IFP

application, it should be labeled with docket number 21-CV-525 (LLS), and address the

deficiencies described above by providing facts to establish that he is unable to pay the filing

fees. If the Court grants the amended IFP application, Plaintiff will be permitted to proceed

without prepayment of fees. See 28 U.S.C. § 1915(a)(1).
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         The Clerk of Court is directed to mail a copy of this order to Plaintiff and note service on

the docket. No summons shall issue at this time. If Plaintiff complies with this order, the case

shall be processed in accordance with the procedures of the Clerk’s Office. 1 If Plaintiff fails to

comply with this order within the time allowed, the action will be dismissed.

SO ORDERED.

Dated:       January 28, 2021
             New York, New York

                                                                 Louis L. Stanton
                                                                    U.S.D.J.




         1
          Plaintiff has moved to proceed anonymously in this matter, ECF 1, as he has done in a
number of other cases. The Court has temporarily restricted access to the docket of this case.
Once Plaintiff complies with this order by submitting an adequate IFP application, the Court will
evaluate the merits of his motion to proceed under a pseudonym.

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